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       EXHIBIT E
   Defendants’ Requests for Production of
Documents (Fourth Set) to UEC Parties, served
               July 11, 2019




       EXHIBIT E
                                                                    APP049
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                                                                    1    J. Stephen Peek, Esq. (1758)
                                                                         Bryce K. Kunimoto, Esq. (7781)
                                                                    2    Robert J. Cassity, Esq. (9779)
                                                                         HOLLAND & HART LLP
                                                                    3    9555 Hillwood Drive, 2nd Floor
                                                                         Las Vegas, Nevada 89134
                                                                    4    Tel: (702) 669-4600
                                                                         speek@hollandhart.com
                                                                    5    bkunimoto@hollandhart.com
                                                                         bcassity@hollandhart.com
                                                                    6
                                                                         Attorneys for Defendants Aruze Gaming
                                                                    7    America and Kazuo Okada
                                                                    8    Jeffrey S. Love, Esq. (pro hac vice)
                                                                         Kristin L. Cleveland, Esq. (pro hac vice)
                                                                    9    KLARQUIST SPARKMAN, LLP
                                                                         One World Trade Center
                                                                   10    121 S.W. Salmon Street, Suite 1600
                                                                         Portland, Oregon 97204
                                                                   11    jeffrey.love@klarquist.com
                                                                         kristin.cleveland@klarquist.com
                     Phone: (702) 222-2500 ♦ Fax: (702) 669-4650




                                                                   12
                                                                         Attorneys for Defendant Aruze Gaming
                                                                   13
                            9555 Hillwood Drive, 2nd Floor




                                                                         America, Inc
HOLLAND & HART LLP

                                Las Vegas, NV 89134




                                                                   14                              UNITED STATES DISTRICT COURT
                                                                   15                                     DISTRICT OF NEVADA
                                                                   16 UNIVERSAL ENTERTAINMENT                             CASE NO.: 2:18-cv-00585-RFB-GWF
                                                                      CORPORATION, a Japanese corporation,
                                                                   17
                                                                      Plaintiff,                                          ARUZE GAMING AMERICA, INC.
                                                                   18                                                     AND KAZUO OKADA’S REQUESTS
                                                                      v.                                                  FOR PRODUCTION OF DOCUMENTS
                                                                   19
                                                                      ARUZE GAMING AMERICA, INC., a Nevada                (FOURTH SET)
                                                                   20 corporation, KAZUO OKADA, an individual,

                                                                   21 Defendants._____________________________
                                                                      ARUZE GAMING AMERICA, INC., a Nevada
                                                                   22 corporation, KAZUO OKADA, an individual,

                                                                   23 Counterclaimants,

                                                                   24 v.

                                                                   25 UNIVERSAL ENTERTAINMENT
                                                                      CORPORATION, a Japanese corporation,
                                                                   26 ARUZE USA, a Nevada corporation, and JUN
                                                                      FUJIMOTO, an individual,
                                                                   27
                                                                      Counter Defendants.
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                                                                    1           TO: EACH         PLAINTIFF        OR    COUNTER-DEFENDANT                AND      ITS/HIS
                                                                    2    ATTORNEY OF RECORD.
                                                                    3           Pursuant to Federal Rules of Civil Procedure 26 and 34, Defendants/Counter-Claimants
                                                                    4    request that Plaintiff/Counter-Defendants produce documents described below for inspection
                                                                    5    and copying at the offices of Holland & Hart LLP, 9555 Hillwood Drive, 2nd Floor, Las Vegas,
                                                                    6    Nevada 89134, within thirty (30) days after service of this request or at a mutually agreed upon
                                                                    7    time and place.
                                                                    8 INSTRUCTIONS AND DEFINITIONS

                                                                    9          1.      Plaintiff/Counter-Defendants’ responses to these requests shall comply with FRCP
                                                                   10 34(b)(2), in that for all items produced pursuant to these requests, Plaintiff/Counter-Defendants

                                                                   11 shall “organize and label them to correspond with the categories in the request.”
                     Phone: (702) 222-2500 ♦ Fax: (702) 669-4650




                                                                   12          2.      As used in these requests, the following terms are defined as follows:
                                                                   13
                            9555 Hillwood Drive, 2nd Floor




                                                                                       a.     “AGA” refers to the Defendant/Counter-Claimant in this action identified
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                                Las Vegas, NV 89134




                                                                   14 as Aruze Gaming America, Inc., including but not limited to its known predecessors, successors,

                                                                   15 parents, subsidiaries, divisions and affiliates (excluding UEC and Aruze), and each of their

                                                                   16 respective current and former officers, directors, agents, attorneys, accountants, employees,

                                                                   17 representatives, partners, consultants, contractors, advisors, and other persons occupying similar

                                                                   18 positions or performing similar functions, and all other persons acting or purporting to act on its

                                                                   19 behalf or under its control.

                                                                   20                  b.     “Aruze” refers to the Counter-Defendant in this action identified as Aruze
                                                                   21 USA, Inc., including but not limited to its predecessors, successors, parents, subsidiaries,

                                                                   22 divisions and affiliates (excluding AGA), and each of their respective current and former officers,

                                                                   23 directors, agents, attorneys, accountants, employees, representatives, partners, consultants,

                                                                   24 contractors, advisors, and other persons occupying similar positions or performing similar

                                                                   25 functions, and all other persons acting or purporting to act on its behalf or under its control.

                                                                   26 / / /

                                                                   27 / / /

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                                                                        Case 2:18-cv-00585-RFB-NJK Document 182-5 Filed 04/01/20 Page 4 of 12



                                                                    1                  c.     “Calendar” refers to any calendar, agenda, day planner, date book, diary,
                                                                    2 and/or similar document through which persons record appointments, meetings, dates, and/or

                                                                    3 schedules, whether electronic or in hard copy form.

                                                                    4                  d.     “Concerning” means constituting, relating to, pertaining to, referring to,
                                                                    5 alluding to, responding to, in connection with, commenting on, in response to, regarding,

                                                                    6 explaining, discussing, showing, describing, studying, reflecting, analyzing, supporting or

                                                                    7 contradicting.

                                                                    8                  e.     “Document(s)” or “Communication(s)” mean the original, or a copy
                                                                    9 when the original is not available, and each non-identical copy, including those which are non-

                                                                   10 identical by reason of notations or markings of: papers, tapes, drives, discs, or other substances

                                                                   11 on which Communications, data, or information is recorded or stored, whether made by manual,
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                                                                   12 mechanical, photographic or electronic process. This definition includes all drafts or superseded

                                                                   13 revisions of each document. As used herein, “document(s)” and “Communications” includes,
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                                Las Vegas, NV 89134




                                                                   14 but is not limited to: e-mail, text messages, books, pamphlets, periodicals, letters, reports,

                                                                   15 memoranda, handwritten notes, notations, messages, telegrams, cables, records, drafts, diaries,

                                                                   16 studies, analyses, summaries, magazines, circulars, bulletins, instructions, minutes, photographs,

                                                                   17 purchase orders, bills, checks, tabulations, calendars, charge slips, questionnaires, surveys,

                                                                   18 drawings, sketches, working papers, charts, graphs, indexes, taped correspondence, records of

                                                                   19 purchase of sale, contracts, agreements, leases, invoices, expense records, trip reports, releases,

                                                                   20 appraisals, valuations, estimates, opinions, financial statements, accounting records, income

                                                                   21 statements, electronic or other transcriptions or taping of telephone or personal conversations or

                                                                   22 conferences or any and all other written, printed, typed, punched, taped, filed or graphic matter

                                                                   23 or tangible thing, of whatever description, however produced or reproduced (including computer

                                                                   24 stored or generated data, together with instructions and programs necessary to search or retrieve

                                                                   25 such data), and shall include all attachments and enclosures to any requested item, which shall

                                                                   26 not be separated from the item to which they are attached or enclosed. “Documents” also includes

                                                                   27 any records maintained by computer or other electronic media, including disk, CD-ROM, DVD

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                                                                    1 or other devices. “Documents” include electronically stored information (“ESI”) associated with

                                                                    2 requested documents, including, without limitation email, voicemail, documents, spreadsheets,

                                                                    3 calendars, and any other information existing in electronic format (e.g. Word, Excel, Outlook,

                                                                    4 .pdf, .tif, .jpg, .wav). “Documents” also includes any physical things.

                                                                    5                  f.     “Fujimoto” refers to the individual Counter-Defendant in this action
                                                                    6 identified as Jun Fujimoto, or anyone acting on his behalf.

                                                                    7                  g.     “Hideki Goto” refers to Hideki Goto, or anyone acting on his behalf.
                                                                    8                  h.     “Okada” refers to the individual Defendant/Counter-Claimant in this
                                                                    9 action identified as Kazuo Okada.

                                                                   10                  i.     “Okada Holdings” or “OHL” refers to Okada Holdings, Limited,
                                                                   11 including but not limited to its predecessors, successors, parents, subsidiaries, divisions and
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                                                                   12 affiliates, and each of their respective current and former officers, directors, agents, attorneys,

                                                                   13 accountants, employees, representatives, partners, consultants, contractors, advisors, and other
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                                Las Vegas, NV 89134




                                                                   14 persons occupying similar positions or performing similar functions, and all other persons acting

                                                                   15 or purporting to act on its behalf or under its control.

                                                                   16                  j.     “Special Investigation Committee” or “SIC” refers to that committee
                                                                   17 referenced in paragraphs 67 – 68 of UEC’s Second Amended Complaint which, inter alia, alleges

                                                                   18 that “[i]n June 2017, UEC became aware of a possibility that Okada engaged in misconduct in

                                                                   19 relation to foreign business.      In response to this misconduct, UEC established a Special
                                                                   20 Investigation Committee formed by outside experts to investigate Okada.” “On August 29, 2017,

                                                                   21 the Special Investigation Committee reported the results of the investigation to UEC. This

                                                                   22 identified the fact that Okada had caused UEC damages worth at least JPY 2.2 billion due to his

                                                                   23 misconduct through the foreign business done for personal gain during 2013 – 2015.”

                                                                   24                  k.     “UEC” or “Plaintiff” refers to the Plaintiff/Counter-Defendant in this
                                                                   25 action identified as Universal Entertainment Corporation, including but not limited to its

                                                                   26 predecessors, successors, parents, subsidiaries, divisions and affiliates, and each of their

                                                                   27 respective current and former officers, directors, agents, attorneys, accountants, employees,

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                                                                    1 representatives, partners, consultants, contractors, advisors, and other persons occupying similar

                                                                    2 positions or performing similar functions, and all other persons acting or purporting to act on its

                                                                    3 behalf or under its control.

                                                                    4                 l.      “Wynn Litigation” refers to the civil action filed in Nevada District Court
                                                                    5 under cause number A-12-656710-B by Wynn Resorts, Limited against Okada, Aruze, and UEC.

                                                                    6          3.     Words in the singular include their plural meaning, and vice versa. The past tense
                                                                    7 includes the present tense where the clear meaning is not distorted by a change of tense, and words

                                                                    8 used in the masculine gender shall include the feminine gender.

                                                                    9          4.     The words “and” and “or” shall be individually interpreted in every instance as
                                                                   10 meaning “and/or” and shall not be interpreted to exclude any information within the scope of any

                                                                   11 request.
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                                                                   12          5.     References to persons and other entities include their agents, employees,
                                                                   13 representatives, and attorneys.
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                                Las Vegas, NV 89134




                                                                   14          6.     These requests require production of Documents, including documents,
                                                                   15 electronically stored information or things, that are in your possession, custody or control, and

                                                                   16 Documents that are in the possession, custody or control of your agents, employees, accountants,

                                                                   17 attorneys, representatives, or other persons who have documents deemed to be in your possession,

                                                                   18 custody or control.

                                                                   19          7.     If you contend that you are entitled to withhold from production any or all
                                                                   20 Documents identified herein on the basis of attorney/client privilege, work product doctrine, or

                                                                   21 other ground, then do the following with respect to each and every document:

                                                                   22                 a.      Describe the nature of the document, in sufficient particularity to identify
                                                                   23 it and to enable you to identify or disclose it in response to an order of the court, including the

                                                                   24 date and subject matter of such document;

                                                                   25                 b.      Identify the person(s) who prepared the document;
                                                                   26 / / /

                                                                   27 / / /

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                                                                    1                 c.      Identify the person(s) who sent and received the original and a copy of the
                                                                    2 document, or to whom the document was circulated, or its contents communicated or disclosed;

                                                                    3 and

                                                                    4                 d.      State the basis upon which you contend you are entitled to withhold the
                                                                    5 document from production.

                                                                    6          8.     Whenever a document is not produced in full (as, for example, when material is
                                                                    7 excerpted or redacted from a document), state with particularity the reason or reasons why the

                                                                    8 document was not produced in full, and describe to the best of your knowledge, information, or

                                                                    9 belief and with as much particularity as possible, those portions of the document that are not

                                                                   10 produced, including the content or substance of the content thereof.

                                                                   11          9.     If Documents existed that were responsive to any of these requests, but you
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                                                                   12 contend that such Documents no longer exist or are not within your possession, custody or

                                                                   13 control, then do the following with respect to each and every document:
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                                                                   14                 a.      Describe the nature of the document, in sufficient particularity to identify
                                                                   15 it and to enable the answering party to identify or disclose it in response to an order of the court,

                                                                   16 including the date and subject matter of such document;

                                                                   17                 b.      Identify the person(s) who prepared the document;
                                                                   18                 c.      Identify the person(s) who sent and received the original and a copy of the
                                                                   19 document, or to whom the document was circulated, or its contents communicated or disclosed;

                                                                   20 and

                                                                   21                 d.      State the circumstances which prevent production of the document.
                                                                   22          10.    Electronic records and computerized information shall be produced in an
                                                                   23 intelligible and readable format and shall be accompanied by a description of the system from

                                                                   24 which they were obtained, including a description of the database or other software utilized with

                                                                   25 respect to such data.

                                                                   26          11.    Unless otherwise specifically stated, all requests call for production of Documents
                                                                   27 prepared, received, or dated at any time prior to and including the date of production.

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                                                                    1         12.     With respect to any category of Documents whose production you contend is in
                                                                    2 some way “burdensome” or “oppressive,” please state the specific reason for that objection.

                                                                    3         13.     These requests are continuing and, to the extent required by the Federal Rules of
                                                                    4 Civil Procedure, you must promptly produce such additional responsive Documents as may

                                                                    5 hereafter be located or acquired by you.

                                                                    6         14.     The answering party shall produce the Documents as they are kept in the usual
                                                                    7 course of business or organize and label the Documents to correspond with the categories in these

                                                                    8 requests. If the original is not in your custody, then you are to produce a copy thereof, and all

                                                                    9 non-identical copies which differ from the original or from the other copies produced for any

                                                                   10 reason including the making of notes thereon.

                                                                   11         15.     These Requests are intended to encompass any electronically stored information
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                                                                   12 or any data or information maintained in any form.

                                                                   13
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                                                                              16.     Unless the parties agree otherwise, Defendants/Counter-Claimants request
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                                                                   14 production in the form set forth in the parties ESI Agreement.

                                                                   15                     REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                                   16         REQUEST NO. 212:
                                                                   17         Please produce all insurance policies, including without limitation Directors and Officers
                                                                   18 Liability policies (“D&O Policies”), pursuant to which UEC was a named insured or additional

                                                                   19 insured and with a policy period from January 1, 2010 to March 31, 2018.

                                                                   20         REQUEST NO. 213:
                                                                   21         Please produce all insurance policies, including without limitation D&O Policies,
                                                                   22 pursuant to which Aruze was a named insured or additional insured and with a policy period from

                                                                   23 January 1, 2010 to March 31, 2018.

                                                                   24         REQUEST NO. 214:
                                                                   25         Please produce all insurance policies, including without limitation D&O Policies, under
                                                                   26 which UEC (and without limitation, its officers and directors) tendered defense or indemnity in

                                                                   27 the Wynn Litigation.

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                                                                    1           REQUEST NO. 215:
                                                                    2           Please produce all Documents sufficient to identify all persons whose legal fees, costs and
                                                                    3 expenses incurred in the Wynn Litigation were paid and/or reimbursed under any insurance policy

                                                                    4 pursuant to which UEC is a named or additional insured, including, without limitation, any D&O

                                                                    5 Policy.

                                                                    6           REQUEST NO. 216:
                                                                    7           Please produce all Documents and Communications Concerning insurance coverage of
                                                                    8 UEC’s directors and officers in the Wynn Litigation.

                                                                    9           REQUEST NO. 217:
                                                                   10           Please produce Mr. Jun Fujimoto’s Calendar(s) from January 1, 2017 to present.
                                                                   11           REQUEST NO. 218:
                     Phone: (702) 222-2500 ♦ Fax: (702) 669-4650




                                                                   12           Please produce Mr. Hajime Tokuda’s Calendar(s) from January 1, 2017 to present.
                                                                   13
                            9555 Hillwood Drive, 2nd Floor




                                                                                REQUEST NO. 219:
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                                Las Vegas, NV 89134




                                                                   14           Please produce all Documents supporting the assertion that “On May 21, 2017 . . . [UEC]
                                                                   15 was notified by OHL that it would change its officers and its standing proxy. Simultaneously

                                                                   16 [UEC] was notified that OHL believed Mr. Okada and Mr. Negishi to be unsuitable Directors at

                                                                   17 [UEC] . . .” as stated in the Report on Chain of Events dated February 28, 2018 (UEC_00021174-

                                                                   18 00021187, specifically UEC_00021175).

                                                                   19           REQUEST NO. 220:
                                                                   20           Please produce all Communications from January 1, 2017 to September 20, 2018 between
                                                                   21 UEC, which shall include, without limitation, Hideki Goto and Fujimoto, and Deutsche Bank AG

                                                                   22 Concerning the Wynn Litigation or the research conducted by Deutsche Bank as summarized in

                                                                   23 the Markets Research report dated September 25, 2017 (UEC_00030894-00030950) and

                                                                   24 November 13, 2017 (UEC_00134227).

                                                                   25           REQUEST NO. 221:
                                                                   26           Please produce all Documents Concerning the directors’ approval and the circular in
                                                                   27 connection with the loan made by Tiger Resort Asia to Goldluck Tech on March 3, 2015 in the

                                                                   28
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                                                                    1 amount of HKD135 million as described in the Universal Entertainment Corporation Audit

                                                                    2 Summary Report dated May 29, 2015 (UEC_00048859-00048875, specifically UEC_00048866).

                                                                    3          REQUEST NO. 222:
                                                                    4          Please produce the “Affiliate Company Management Rules and the current Subsidiary
                                                                    5 Company Management Rules” (effective March 1, 2010), as referenced in UEC’s redacted SIC

                                                                    6 report (AGA_00000363) which is attached to the August 30, 2017 Press Release entitled “Notice

                                                                    7 on Results of Investigation by Special Investigation Committee and Future Actions.”

                                                                    8          REQUEST NO. 223:
                                                                    9          Please produce all Communications from January 1, 2017 to September 20, 2018 between
                                                                   10 UEC, which shall include, without limitation, Hideki Goto, and Union Gaming Concerning the

                                                                   11 research conducted by Deutsche Bank as summarized in the Markets Research report dated
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                                                                   12 September 25, 2017 (UEC_00030894-00030950) and November 13, 2017 (UEC_00134227).

                                                                   13
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                                                                               REQUEST NO. 224:
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                                Las Vegas, NV 89134




                                                                   14          Please produce all Communications from January 1, 2017 to September 20, 2018 between
                                                                   15 UEC, which shall include, without limitation, Hideki Goto, and Fitch Ratings Concerning the

                                                                   16 research conducted by Deutsche Bank as summarized in the Markets Research report dated

                                                                   17 September 25, 2017 (UEC_00030894-00030950) and November 13, 2017 (UEC_00134227).

                                                                   18          REQUEST NO. 225:
                                                                   19          Please produce all Communications from January 1, 2017 to September 20, 2018 between
                                                                   20 UEC, which shall include, without limitation, Hideki Goto, and Standard & Poor’s Concerning

                                                                   21 the research conducted by Deutsche Bank as summarized in the Markets Research report dated

                                                                   22 September 25, 2017 (UEC_00030894-00030950) and November 13, 2017 (UEC_00134227).

                                                                   23          REQUEST NO. 226:
                                                                   24          Please produce all Communications from January 1, 2017 to September 20, 2018 between
                                                                   25 UEC, which shall include, without limitation, Hideki Goto, and Moody’s Corporation Concerning

                                                                   26 the research conducted by Deutsche Bank as summarized in the Markets Research reports dated

                                                                   27 September 25, 2017 (UEC_00030894-00030950) and November 13, 2017 (UEC_00134227).

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                                                                    1          REQUEST NO. 227:
                                                                    2          Please produce all Communications from January 1, 2017 to September 20, 2018 between
                                                                    3 UEC, which shall include, without limitation, Hideki Goto, and any other third party Concerning

                                                                    4 the research conducted by Deutsche Bank as summarized in the Markets Research reports dated

                                                                    5 September 25, 2017 (UEC_00030894-00030950) and November 13, 2017 (UEC_00134227).

                                                                    6          REQUEST NO. 228:
                                                                    7          Please produce all exhibits to the written statement of Yoshinao Negishi, produced as
                                                                    8 UEC_00118326, as referenced in said written statement.

                                                                    9          REQUEST NO. 229:
                                                                   10          Please produce any opinion letter obtained by Mr. Hajime Tokuda and/or UEC prior to
                                                                   11 the UEC Board of Directors meeting on May 31, 2017, relating to the suitability or
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                                                                   12 appropriateness of Mr. Okada to serve as a Director of UEC, including but not limited to the

                                                                   13 opinion letter obtained from Iwaida Law Firm.
                            9555 Hillwood Drive, 2nd Floor
HOLLAND & HART LLP

                                Las Vegas, NV 89134




                                                                   14           DATED this 11th day of July, 2019.
                                                                   15

                                                                   16                                            By        /s/ Bryce K. Kunimoto
                                                                                                                 J. Stephen Peek, Esq. (1758)
                                                                   17                                            Bryce K. Kunimoto, Esq. (7781)
                                                                                                                 Robert J. Cassity, Esq. (9779)
                                                                   18                                            HOLLAND & HART LLP
                                                                                                                 9555 Hillwood Drive, 2nd Floor
                                                                   19                                            Las Vegas, Nevada 89134
                                                                   20                                            Attorneys for Defendants Aruze Gaming America and
                                                                                                                 Kazuo Okada
                                                                   21
                                                                                                                 Jeffrey S. Love, Esq. (pro hac vice)
                                                                   22                                            Kristin L. Cleveland, Esq. (pro hac vice)
                                                                                                                 KLARQUIST SPARKMAN, LLP
                                                                   23                                            One World Trade Center
                                                                                                                 121 S.W. Salmon Street, Ste 1600
                                                                   24                                            Portland, Oregon 97204
                                                                   25                                            Attorneys for Defendant Aruze Gaming America
                                                                   26

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                                                                    1                                       CERTIFICATE OF SERVICE
                                                                    2             I hereby certify that on the 11th day of July, 2019, a true and correct copy of the
                                                                    3     foregoing ARUZE GAMING AMERICA, INC. AND KAZUO OKADA’S REQUESTS
                                                                    4     FOR PRODUCTION OF DOCUMENTS (FOURTH SET) was served by the following
                                                                    5     method(s):
                                                                          
                                                                    6            Email: by electronically delivering a copy via email to the following e-mail addresses:
                                                                    7             Jay J. Schuttert, Esq. – jschuttert@efstriallaw.com
                                                                                  David W. Gutke, Esq. – dgutke@efstriallaw.com
                                                                    8             EVANS FEARS & SCHUTTERT LLP
                                                                                  2300 West Sahara Ave Ste 900
                                                                    9             Las Vegas, NV 89101
                                                                   10             Andrew Z. Weaver, Esq. – aweaver@polsinelli.com
                                                                                  POLSINELLI PC
                                                                   11             1000 Louisiana Street, 53rd Floor
                                                                                  Houston, TX 77002
                     Phone: (702) 222-2500 ♦ Fax: (702) 669-4650




                                                                   12
                                                                                  Attorneys for Plaintiff
                                                                   13
                            9555 Hillwood Drive, 2nd Floor
HOLLAND & HART LLP

                                Las Vegas, NV 89134




                                                                   14

                                                                   15                                                              /s/ Joyce Heilich
                                                                                                                              An Employee of Holland & Hart, LLP
                                                                   16

                                                                   17

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